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UNITED STATES DISTRICT COURT l ~:} tex Arnf_ D.C.
WESTERN DISTRICT OF TENNESSEE 05 JUL
Western Division f l PH 3: 59

 
    

 

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UNITED STATES OF AMERICA hill l',.l~ ln',` 1'-,¥§5.1pH;SURT
-v- Case No. 2:05cr20250-06Ml
TAWANDA WALLACE
ORDER SETT|NG

COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) 'I`he defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number,

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom Courn'oom # 5 on Wednesday July 20, 2005 @ 9:30am.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance

Secured Financial Conditions

0 report as directed by the Pretrial Services Office.
0 Maintain or actively seek employment
0 Refrain from any use or unlale possession of a narcotic drug or other controlled substances in 21 U.S.C. §

802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

0 Submit to any method of testing required by the Pretn`al Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing.

, Submit to substance abuse treatment as directed by Pre Trial Services.

lens document entered on the docket sheet ln comF`-'. `

AO199A OrderSetting Condilions ofReleasa WLm HU|B 35 and/Or 32{5) FHCrP on

 

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ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADVlSED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of iniprisonment, a fine, or both.

l'he commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence,

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of irnprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victini, juror, informant or officer of the court. 'l"he
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or botli;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge thatI am the defendant in this case and thatl am aware of the conditions of release. l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I arn aware

of the penalties and sanctions set forth above.
Oéwaml o U!QQja/<i

Signature of Defendant

Tawanda Wallace
344 Flynn

Memphis, TN 38109
(901) 789-6100

AO 199A Order Setting Conoilions of Re|ease “2'

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DlRECT|ONS TO THE UN|TED STATES MARSHAL

g The defendant is ORDERED released after processing
' l:l The United States marshal is ORDERED to keep the defendant iii custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release, The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: July ll, 2005 A.»C m /( %//Af|/_///J

DIANE K. vEsCovO'
UNITED sTATEs MAGisTRATE JUDGE

AO 199A Order Setting Cendilions of Release '3'

   

UNITED S`TATE DRiSTiC COURT - WTERN DSTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 iii
case 2:05-CR-20250 Was distributed by faX, mail, or direct printing on
.luly 12, 2005 to the parties listed.

 

 

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

